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                                                                               U.S. DISTRICT COURT
                                                                                   N.D. OF ALABAMA


              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF ALABAMA
                       SOUTHERN DIVISION


REBECCA ANNE PETERS,                 ]
                                     ]
      Plaintiff,                     ]
                                     ]
VS.                                  ]   CIVIL ACTION NO.
                                     ]    2:17-CV-1274 KOB
EQUIFAX INFORMATION                  ]
SERVICES, LLC.,                      ]
                                     ]
      Defendant.                     ]

                                   ORDER

      This cause comes before the court upon the "Stipulation of Dismissal."

(Doc. 52). Upon consideration thereof, the court ORDERS that this case be, and

the same hereby is, DISMISSED, in its entirety, WITH PREJUDICE, each party to

bear its own costs and fees.

      DONE and ORDERED this 16th day of March, 2020.


                                   _________________________________
                                   KARON OWEN BOWDRE
                                   UNITED STATES DISTRICT JUDGE
